  Case 20-30208        Doc 152     Filed 08/07/22 Entered 08/07/22 21:51:56              Desc Main
                                    Document     Page 1 of 6


                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In Re:                                         )
                                               )       Case No. 20-30208
CALVIN RAY KENNEDY                             )       Chapter 11
CYNTHIA M. KENNEDY                             )
                                               )
                       Debtors.

 REPLY OF DEBTORS TO RESPONSES AND OBJECTIONS BY PHH MORTGAGE
   SERVICES AND WILMINGTON SAVINGS FUND SOCIETY TO DEBTORS’
INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS AND
       MOTIONS FOR PROTECTIVE ORDERS [DOC. NOS. 145 AND 146]

       The Debtors file this reply to the Responses and Objections by PHH Mortgage Services and
Wilmington Savings Fund Society to Debtors’ Interrogatories and Requests for Production of
Documents and Motions for Protective Orders. PHH Mortgage Services (“PHH”) upon information
and belief is the servicer of the loan owned by Wilmington Savings Fund Society (“Wilmington”).
The Hutchens Law Firm, LLP (“Hutchens”) appears in this matter for both PHH and Wilmington.

                                            SUMMARY

              The $75,000.00 (approximate) requested in Wilmington’s Application for
Attorneys’ Fees and Expenses [Doc. No. 133] (the “Application”) are not reasonable under
the circumstances of this case. The Amount owed to Wilmington by the Debtors as of the
February 19, 2020 filing date was $2,927,332.40. The Debtors were current on payments to
Wilmington as of the bankruptcy filing date. Debtors missed, upon information and belief, two
monthly payments early during the Covid pandemic, but the Debtors were able to catch up these
payments and cure the payment default in 2020.

        Wilmington’s claim is secured by first priority deeds of trust on two parcels of commercial
real property located in Charlotte, N.C. For purposes of making the loan now owned by Wilmington,
hese real properties were appraised in late 2016 and early 2017 as having an aggregate value of
$5,810,000.00. Because of a downturn in the day care business (the upfit of the buildings was day care
specific) the Debtors scheduled the aggregate value of Wilmington’s collateral as being $3,496,000.00.
Post-petition, the Debtors had the real properties appraised, and as of April 22, 2020 these appraisals
showed that the aggregate value of Wilmington’s collateral was $3,700,000.00. Using these values,
Wilmington is over secured by a significant amount of equity...from $700,000.00 to $2,810,000.00.

        The fees requested reflect that PHH and Wilmington employed overly aggressive strategies in
this proceeding. Courts have broad discretion under the reasonableness standard to meet the purpose
of §506(b) to prevent creditors from failing to exercise restraint in the fees and expenses incurred.
Courts should look to see if the creditor is exhibiting excessive caution, overzealous advocacy, and
hyperactive legal efforts. This requires an examination of the various factors set forth below.

         Undersigned counsel understands that Wilmington may not have any employees. This would
     Case 20-30208       Doc 152      Filed 08/07/22 Entered 08/07/22 21:51:56            Desc Main
                                       Document     Page 2 of 6


seem to be true, because the Responses seek to protect communications between Hutchens and
employees of PHH, but not communications between Hutchens and employees of Wilmington. If
Wilmington has no employees, then PHH and its employees have made and are making all of the
decisions concerning how the Wilmington claim has been handled in this case. Yet, in its Response
PHH disingenuously states that it “...is not involved in this contested matter...” and is not subject to
discovery requests as provided in Bankruptcy Rule 9014. PHH is certainly involved as at a minimum
an agent for Wilmington.

        And, if PHH is making all of the decisions concerning how the Wilmington claim is
“protected” in bankruptcy matters, PHH has no incentive to police its attorneys’ activities and
charges, since it could simply dump any and all charges billed onto the Debtors. PHH has a possible
conflict of interests in that it may be incentivized by its servicing agreement with Wilmington to
protect the interests of PHH, and its actions may not have been reasonable and necessary to protect
the interests of Wilmington. “[A]n indemnity agreement is not a blank check; it does not entitle the
surety to reimbursement for legal fees which are unreasonable or unnecessary.” Jackson v. Hollowell,
685 F.2d 961, 966 (5th Cir. 1982).

A.       Standards for Approval of Attorney’s Fees and Expenses

       The Court should consider the Responses of PHH and Wilmington in light of the fact that
the burden of proof in this matter is on Wilmington. The Application contains no analysis
whatsoever of the relevant factors considered by courts in determining the reasonableness of
attorneys’ fees and expenses. The Application baldly asserts in Paragraph 12 that “...the fees and
expenses incurred and requested herein were necessary and reasonable for Wilmington Savings to
protect its rights and interests in the Real Property”. And now PHH and Wilmington seek to hide
documents that would allow the Debtors to properly address the relevant factors. Because the
Debtors’ Chapter 11 Plan could not have removed Wilmington’s deeds of trust from the real
properties, there was actually very little that needed to be done to protect Wilmington’s property
interests.

        In determining the reasonableness of attorney’s fees, this Court should follow the analysis
used in Pellegrin v. Nat’l Union Fire Ins. Co. of Pittsburgh (In re Abrams & Abrams, P.A.), 605 F.3d 238,
244 (4th Cir. 2010), primarily using the factors set out in N.C. GEN. STAT. § 6-21.6(c). This Court will
also consider the factors in Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)
and used pursuant to § 506(b).

         These factors are broad and include:

      a. The amount in controversy and the results obtained, and the extent to which the party
         seeking attorney’s fees prevailed in the action;
      b. Novelty and difficulty of the questions raised in the action;
      c. The reasonableness of the time and labor expended, the billing rates charged by the attorneys,
         the skill required to perform properly the legal services rendered, and the amount of
         attorney's fees awarded in similar cases;
  Case 20-30208          Doc 152      Filed 08/07/22 Entered 08/07/22 21:51:56                  Desc Main
                                       Document     Page 3 of 6


     d. Efforts at voluntary resolution and the relative economic positions of the parties, whether a
        party unjustly exercised superior economic bargaining power in the conduct of the action;

     e. The terms of the business contract; and

     f. The timing of settlement offers made.

     The Responses of PHH and Wilmington show that they are not aware of the breadth of this
     Court’s inquiry. Page 3 of Wilmington’s Response states in part that the Debtor’s simply “...can
     produce evidence that the times spent by counsel for Wilmington Savings was simply too much
     or, at least, what would be unreasonable under the circumstances”. This is a gross
     oversimplification of the attorneys’ fee approval process under 11 U.S.C. §506.

B.      Attorney-Client Privilege

        PHH and Wilmington seek to avoid discovery using these privileges. However, this strategy
does not work in indemnification cases such as this. In Ideal Electronic Security Co. v. International Fidelity
Insurance, 129 F.3d 143 (D.C. Cir. 1997), Ideal had agreed to indemnify International Fidelity (“IFIC”)
against any losses or expenses under a payment bond, including attorney’s fees incurred to defend
against claims arising under the bond. IFIC sought the recovery of attorney’s fees incurred in
connection with the claim of a subcontractor for underpayments. Because IFIC asserted that certain
billing statements supporting the claim for fees were protected by attorney-client privilege, the
District Court below reduced the award of fees for the amounts covered by the purportedly
privileged materials. Ideal contended that it was entitled to review all billing statements so that it
would be in a position to show that IFIC’s arrangements with counsel were both unnecessary and
unreasonable.

The Ideal Court on appeal determined that

        Appellants are entitled to full discovery of information underlying the claim for
        fees; only after obtaining such discovery will the appellants be in a position to
        assess the reasonableness of IFIC's position and then present to the court any
        legitimate challenges to the surety 's claim...Appellee effectively waived its
        attorney-client privilege with regard to all communications going to the
        reasonableness of the fees claimed when it placed the purportedly privileged
        matters in dispute by claiming indemnification for the attorney's fees.

Id. at 146.

         The Debtors herein are entitled to discover the information requested to appraise the
reasonableness of the amount of fees requested by PHH/Wilmington, including the nature and
extent of the work done by IFIC's counsel on various phases of the case, so that it may present to the
Court any legitimate challenges to Wilmington’s claim. See National Ass'n of Concerned Veterans v.
Secretary of Defense, 675 F.2d 1319, 1329 ( D.C. Cir. 1982 ). Wilmington and PHH are attempting to
elude discovery under a claim of attorney-client privilege: however, where the assertion of a privilege
results in the withholding of information necessary to the Debtors’ defense to Wilmington’s claims,
the privilege must give way to the Debtor’s right to mount a defense. Under the common-law
  Case 20-30208         Doc 152      Filed 08/07/22 Entered 08/07/22 21:51:56               Desc Main
                                      Document     Page 4 of 6


doctrine of implied waiver, the attorney-client privilege is waived when the client places otherwise
privileged matters in controversy. See 6 James W. Moore, et al., MOORE'S FEDERAL PRACTICE
Section(s) 26.49[ 5] (3d ed. 1997). The court in In re Sealed Case, 676 F.2d 793 (D.C. Cir. 1982)
explained the rationale underlying the implied waiver doctrine:

        Implied waiver deals with an abuse of a privilege. Where society has
        subordinated its interest in the search for truth in favor of allowing certain
        information to remain confidential, it need not allow that confidentiality to be
        used as a tool for manipulation of the truth-seeking process. [A party asserting
        attorney-client privilege] cannot be allowed, after disclosing as much as he
        pleases, to withhold the remainder. Id. at 807 (quotation omitted).

         By claiming a right for the indemnification of attorney's fees from Ideal and offering the
billing statements as evidence of the same, IFIC waived its attorney-client privilege with respect to...
any other communications going to the reasonableness of the amount of the fee award. See In re Sealed
Case 877 F.2d 976,980-81 (D.C.Cir. 1989) ("[A] waiver of the privilege in an attorney-client
communication extends to all other communications relating to the same subject matter.") (quotation
omitted).

        This is particularly true where, as here, PHH and Wilmington partially disclose allegedly
privileged information in support of its claim against the Debtors, but then asserts the privilege as a
basis for withholding from the Debtors the remainder of the information which is necessary to
defend against the claim. Accord United States v. Westem Elec. Co., 132 F.R.D. 1, 3 (D.D.C. 1990) (where
client placed counsel's actions at issue, client was precluded from asserting work-product privilege as
to any documents that undermined client's position while at the same time producing work-product
that supported position); Byers v. Burleson , 100 F.R.D. 436, 440 (D.D.C. 1983) (attorney-client
privilege impliedly waived where privileged information is necessary to resolve precise issue which
party asserting privilege interjected into the case); Wender v. United Services Auto. Ass'n, 434 A.2d 1372,
13 74 (D.C. 1981) (by asserting its reliance on advice of counsel as a material element of its defense,
party waived the attorney-client privilege with respect to all communications to or from counsel
concerning the transaction).

        In Pamida, Inc. v. E.S. Originals, Inc., 281 F.3d 726 (8th Cir. 2002), the plaintiff sought
indemnification for costs, including attorneys’ fees, incurred in the defense of a patent infringement
action. The Court found that in instituting an action for indemnification seeking recovery for legal
expenses, thereby putting the work of its attorneys directly at issue in the case. Application of the
privilege under these circumstances would deny the defendant access to vital information peculiarly
possessed by the attorneys necessary to defend against plaintiff’s claims. In such circumstances, the
Pamida court found, the plaintiff has waived the protection of the attorney-client privilege and the
work product privilege.

C.      Waiver of work product privilege in indemnification cases

        The protection "derived from the work-product doctrine is not absolute. Like other qualified
privileges, it may be waived." United States v. Nobles, 422 U.S. 225, 239 (1975). For example, the work-
product privilege is "waived when the party claiming the privilege seeks to use it in a way that is not
consistent with the purpose of the privilege." United States v. W. Elec. Co., 132 F.R.D. 1, 3 (D.D.C.
1990). As a general matter, the work-product doctrine will not be recognized when doing so "is not
     Case 20-30208     Doc 152      Filed 08/07/22 Entered 08/07/22 21:51:56              Desc Main
                                     Document     Page 5 of 6


required to maintain a healthy adversary system." In re Sealed Case, 676 F.2d 793, 818 (D.C. Cir. 1982).
See, e.g., Grand Elec.,LLC v. Int'l Bhd. of Elec. Workers Local 265, No. 09-3160, 2011 WL 6740408, at 4
(D. Neb. Dec. 22, 2011) (finding that "neither the attorney-client privilege nor the work-product
privilege may be invoked" by a party that "ma[de] a request for attorney's fees," because they "placed
the[ir] billing statement[s] at issue"); Liberty Mut. Ins. Co. v. Tedford, 644 F. Supp. 2d 753, 764 (N.D.
Miss. 2009) (finding, in a dispute over defense costs arising out of an insurance contract, that the
"protections afforded by the work product doctrine are waived" because "a party put in issue an
attorney's opinion or work product"); Abbott Labs. v. Alpha Therapeutic Corp., 200 F.R.D. 401, 410
(N.D. Ill. 2001) ("Alpha has waived attorney work product protection with respect to the document
categories listed in Abbott's request by placing the subject matter of the documents at issue in this
subsequent indemnification suit."); Charlotte Motor Speedway, Inc. v. Int'l Ins. Co., 125 F.R.D. 127, 131
(M.D.N.C. 1989) (recognizing a "narrow exception to Rule 26(b)(3)" in an indemnification suit
between an insurer and an insured, for discovery requests in which "the information for which
protection is sought is directly in issue")

D.      Cases cited by Wilmington and PHH are not probative

        The cases cited in the Wilmington Response are not relevant to the facts and issues in this
contested matter. In re Impounded, 241 F.3d 308 (3rd Cir. 1979) concerned whether the crime-fraud
exception overrides the attorney-client privilege and whether there was a basis to quash a federal
grand jury subpoena. Westinghouse Elec. Corp. v. Republic of the Phil., 951 F.2d 1414 (3rd Cir. 1991)
addressed the issue as to whether a party that discloses information protected by the attorney-client
privilege in order to cooperate with a government agency that is investigating it waives the privilege
only as against the government. Willis v. Power Co., 291 N.C. 19 (1976) pertained to the discovery of
documents in a wrongful death action against Duke Power Company. Upjohn Co. v. United States, 499
U.S. 383, 66 L.Ed. 2d 584, 101 S.Ct. 677 (1981) involved production of communications between
corporate counsel and a company’s employees in connection with an Internal Revenue Service
investigation.

E.      Proprietary or confidential documents

        PHH and Wilmington argue that certain documents are “proprietary” and thus not
discoverable. However, neither PHH nor Wilmington provide any evidence beyond their
unsupported statements that such documents are “proprietary” or “confidential”. The Responses are
not evidence that any requested documents are in fact “proprietary” or “confidential” and, if that
proof was made, what rules or statutes allow PHH and Wilmington to ignore the Debtors’ discovery
requests.

F.      Vehicle for Improper Purpose

       PHH and Wilmington state that the Debtors’ discovery has some improper purpose. The
Debtors deny this allegation. The purpose is to obtain sufficient information to support the Debtors’
defenses to the claim for legal fees and expenses. The Debtors are entitled to review documents and
correspondence to make support their defenses.

        WHERFORE, the Debtors pray that the Court order PHH and Wilmington to respond to
the discovery propounded, and that the Motions for Protective Orders be denied.
Case 20-30208    Doc 152   Filed 08/07/22 Entered 08/07/22 21:51:56     Desc Main
                            Document     Page 6 of 6


   Dated: August 7, 2022

                                          THE HENDERSON LAW FIRM

                                           /s/James H. Henderson
                                          James H. Henderson
                                          State Bar No. 13536
                                          2030 South Tryon St., Ste. 3H
                                          Charlotte NC 28203
                                          Telephone:     704.333.3444
                                          Facsimile:     704.333.5003
                                          Email:         henderson@title11.com
